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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


SUSMAN GODFREY LLP,
                                             Civil Case No. 1:25-cv-1107
     Plaintiff,

     v.

EXECUTIVE OFFICE OF THE
PRESIDENT, et al.,

     Defendants.


 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
         MOTION FOR A TEMPORARY RESTRAINING ORDER
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                                        INTRODUCTION

       The President of the United States is engaged in an unprecedented and unconstitutional

assault on the independent bar, the independent Judiciary, and the rule of law. In recent weeks,

the President has issued a series of executive orders and presidential memoranda targeting law

firms for representing clients and causes that the President disfavors. Those activities are, it should

go without saying, protected by bedrock constitutional principles, including the First Amendment,

which protects the right of attorneys to advocate for clients, petition the courts, and associate with

clients of their choosing. And nothing in our Constitution or laws grants a President the power to

punish attorneys for engaging in those protected activities; to the contrary, the specific provisions

and overall design of our Constitution were adopted in large measure to ensure that presidents

cannot exercise arbitrary, absolute power in the way that the President seeks to do in these

executive orders.

       Unsurprisingly, each executive order that has been challenged by the targeted law firms—

so far, the firms of Perkins Coie, Jenner & Block, and WilmerHale—has been immediately

restrained by the courts as a blatant violation of the Constitution. As Judge Leon observed in one

such case, for each firm, the order is “like a Sword of Damocles hanging over its head.” Tr. of

TRO Hearing at 27:23-28:1, Wilmer Cutler Pickering Hale and Dorr LLP v. Exec. Office of the

President, No. 25-cv-917 (D.D.C. Mar. 28, 2025), ECF No. 11. And “[t]here is no doubt this

retaliatory action chills speech and legal advocacy, or that it qualifies as a constitutional harm.”

Memorandum Order at 2, Wilmer Cutler Pickering Hale and Dorr LLP v. Exec. Office of the

President, No. 25-cv-917 (D.D.C. Mar. 28, 2025), ECF No. 10 (“Wilmer TRO”); Tr. of TRO

Hearing at 74:7-21, Perkins Coie LLP v. Dep’t of Just., No. 1:25-cv-716 (D.D.C. Mar. 12, 2025),

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28, 2025), ECF No. 9 (“Jenner TRO”) (temporarily enjoining Sections 1, 3, and 5 of the Jenner

Order).

          The most recent Order—which issued the afternoon of April 9, with an accompanying

“Fact Sheet”—targets Susman Godfrey LLP (“Susman” or “the Firm”). 1 The Order suffers from

the same constitutional flaws as the prior executive orders against law firms and should likewise

be immediately enjoined. The Order begins by baselessly accusing Susman of “spearhead[ing]

efforts to weaponize the American legal system and degrade the quality of American elections,”

“fund[ing] groups that engage in dangerous efforts to undermine the effectiveness of the United

States military through the injection of political and radical ideology,” and “support[ing] efforts to

discriminate on the basis of race.”         Order § 1.     It then directs top federal officials to

“immediately . . . suspend any active security clearances held by individuals at Susman” and

review whether they should be permanently revoked. Id. § 2(a). Next, the Order directs federal

agencies to “require Government contractors to disclose any business they do with Susman” and

instructs agency heads to review these contracts and seek to terminate them. Id. § 3. The Order

also references a portion of the order targeting Perkins Coie (the “Perkins Order”) that directed

federal officials to “investigate” diversity, equity, and inclusion policies at “large, influential, or

industry leading law firms.” Id. § 4. Finally, the Order directs federal officials to restrict Susman

employees’ access to “Federal Government buildings”; stop “engaging with Susman employees”;

“refrain from hiring employees of Susman,” absent a special waiver; and “expeditiously cease”

providing any “Government goods, property, materials, [or] services” that “benefit” Susman. Id.

§§ 2(b), 5.



1
 See Addressing Risks from Susman Godfrey, The White House (Apr. 9, 2025), Compl. Ex. A (the
“Order” or “EO”); Fact Sheet: President Donald J. Trump Addresses Risks from Susman Godfrey,
The White House (Apr. 9, 2025), Compl. Ex. B (“Fact Sheet”).

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       The Order leaves no doubt that it was issued as retaliation for protected advocacy with

which the President takes issue. Specifically, the Order targets Susman for its supposed “efforts

to weaponize the American legal system and degrade the quality of American elections.” Id. § 1.

Top White House Advisor Stephen Miller commented that Susman is allegedly “very involved in

the election misconduct.” Compl. ¶ 208; Declaration of Ginger D. Anders (“Anders Decl.”) Ex.

A. That is an unmistakable reference to Susman’s work in the aftermath of the 2020 election,

including its representation of Dominion Voting Systems in connection with Fox News’ broadcasts

of unfounded claims that Dominion attempted to influence the 2020 election against President

Trump, as well as Susman’s defense of state elections officials in litigation defending the integrity

of the 2020 election. Press reports had little trouble making that connection—confirming the

Order’s obviously retaliatory motive. See, e.g., Anders Decl. Exs. A, B. The broader context

leaves no doubt: the orders targeting Perkins, Jenner, and Wilmer stated that those firms were

persona non grata based on their representation of disfavored clients and their employment of

individuals who had previously investigated the President.         And during the 2024 election

campaign, the President vowed to inflict severe consequences on political opponents and their

“Lawyers.” E.g., Compl. ¶ 98.

       The Order and the retaliation campaign it executes are starkly unconstitutional, and this

Court should temporarily restrain Sections 1, 3 and 5 of the Order. 2 The First Amendment

prohibits the government from “us[ing] the power of the State to punish or suppress disfavored

expression,” including legal advocacy on behalf of disfavored clients and causes. NRA v. Vullo,



2
  Susman has no urgent need for the Court to restrain the operation of Section 2 because, to the
Firm’s knowledge, none of the Firm’s attorneys maintains a security clearance for purposes of
litigating any currently active matters; nor do the Firm’s attorneys receive “Government goods,
property, materials, and services, including Sensitive Compartmented Information Facilities” in
connection with any currently active matters.

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602 U.S. 175, 188 (2024); see Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 546-48 (2001). The

Order also unconstitutionally discriminates against Susman based on the viewpoints expressed in

the Firm’s advocacy, including its pro bono advocacy.

        The Order violates many other constitutional provisions as well. It blatantly violates due

process and equal protection principles, including by imposing severe consequences without notice

or any opportunity to be heard; using vague language that does not inform Susman or its clients of

what conduct gave rise to the Order’s unprecedented sanctions and how those sanctions apply; and

singling out Susman based on its representation of disfavored clients and advocacy of disfavored

causes. The Order also violates Susman’s clients’ Fifth Amendment right to counsel. And the

Order violates the separation of powers because the President lacked constitutional or statutory

authority to issue the Order, and its provisions undermine the Judiciary’s independence. For all of

those reasons, Susman is highly likely to succeed on the merits of its suit.

        Susman easily satisfies the remaining requirements for preliminary relief as well. Susman

will suffer irreparable harm absent immediate relief, both because the ongoing violation of its

constitutional rights is irreparable and because the Order sets out to tarnish Susman’s reputation,

permanently damage its relationships with clients, and inflict economic harm. Like Perkins,

Jenner, and Wilmer before it, Susman is facing an imminent risk of losing clients, finding the doors

to government buildings barred and scheduled meetings with government personnel cancelled, and

having its ability to advocate for its clients severely curtailed.

        The equities and public interest also tilt decisively in favor of immediate relief. Although

Susman faces imminent constitutional, reputational, and economic injuries, the government would

suffer no injury if prevented from implementing this unconstitutional order while its

constitutionality is litigated. It should be obvious that the public interest is not served by leaving



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the Order in place, when its avowed purpose and effect is to vitiate the ability of Susman—and,

indirectly, the profession as a whole—to independently advocate for clients before the courts,

including clients whom the government disfavors.

         Susman respectfully asks this Court to immediately enter a TRO.

                                        BACKGROUND

   I.       Susman Godfrey LLP

         Susman Godfrey is the Nation’s preeminent trial firm. See Declaration of Kalpana

Srinivasan (“Srinivasan Decl.”) ¶¶ 6, 8-10. The firm’s origins trace back to 1976, when Stephen

Susman was approached by a small-business owner who sought representation against powerful

manufacturers that were engaged in price fixing. Id. ¶ 7. Mr. Susman and his fellow attorney Gary

McGowan took on that representation and, in 1980, founded their own firm—now Susman

Godfrey. Id. That first representation resulted in the Firm recovering $550 million on behalf of

plaintiffs through settlements and after a successful verdict in a three-month jury trial. Id. Since

then, Susman has grown to employ over 235 of the country’s most talented trial attorneys, spread

across offices in Houston, Los Angeles, New York, and Seattle. Id. ¶¶ 8, 12.

         Susman is a litigation powerhouse. The firm has represented clients in federal and state

courts across the Nation, before myriad federal agencies, and in tribunals throughout the world.

Id. ¶ 8. It is one of the top 100 revenue-generating law firms in the country—one of only a handful

of those top 100 firms that do not practice transactional law. Id. ¶ 9. The Firm and its lawyers

have regularly been recognized for their excellence by a range of respected organizations,

including Chambers USA, Law360, National Law Journal, and more. Id. ¶ 10. And the Vault

survey has ranked Susman as the #1 Litigation Boutique in the Nation every year since the survey’s

inception. Id.




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        Susman’s lawyers come from all backgrounds and hold diverse political views. Id. ¶ 14.

All associates complete a federal clerkship before joining the Firm, and the judges for whom

current Firm associates have clerked include some nominated by Republican presidents and some

nominated by Democratic presidents. Id. For example, the current and recent Susman lawyers

who clerked for the Supreme Court worked for Justices appointed by presidents of both parties:

Justice Sandra Day O’Connor, Justice Anthony Kennedy, Justice Ruth Bader Ginsburg, Justice

Stephen Breyer, Chief Justice John Roberts, Justice Samuel Alito, and Justice Elena Kagan. Id.

Attorneys have joined the Firm after other kinds of government service—some under Republican

administrations and some under Democratic ones. Id. Many Susman lawyers also go on to careers

in public service after their time at the Firm, and the Firm’s alumni have served as federal and state

judges and as high-ranking government officials on both sides of the aisle. Id. ¶ 15.

        Because Susman is first and foremost a litigation firm, its lawyers constantly appear in

federal court. Despite the Firm’s relatively small size, it has scores of active matters before the

federal courts and federal agencies, which represent more than a third of all active matters at the

Firm. Id. ¶ 20. Already this year, Susman attorneys have made dozens of in-person appearances

in federal court, and the Firm’s attorneys have several in-person appearances in federal court and

before federal agencies during the week of April 14, 2025, including an in-person hearing before

the Executive Office of Immigration Review. Id. And the Firm currently has at least seven cases

scheduled to go to trial in federal court within the next six months, with many more awaiting trial

dates. Id. Because trial litigation is the heart of Susman’s practice, the ability of its attorneys to

appear in federal court is critical to the interests of Susman clients and thus vital to the Firm’s

reputation and its ability to discharge its duties.




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         Susman’s service to its clients also requires its lawyers to interact extensively with the

federal government in other ways. A number of Susman’s practice areas involve regular contact

with federal officials or appearances before federal agencies. Id. ¶ 21. For example, Susman does

substantial work on behalf of whistleblowers in actions under the federal False Claims Act and

analogous state laws, and those representations require extensive contact with U.S. Attorney’s

Offices. Id. ¶¶ 23-27. Susman also frequently represents parties before the U.S. International

Trade Commission or the Patent Trial and Appeal Board. Id. ¶ 28. Across its practice areas,

Susman has numerous meetings with federal-government personnel scheduled in the next 90 days.

Id. ¶ 21. Susman cannot effectively fulfill its obligations to its clients in those matters unless it is

able to communicate effectively with federal officials and appear in federal agency proceedings.

         Susman does not shy away from controversial legal work or from taking on powerful

companies and institutions—including the federal government. Susman has taken on well-funded

and influential adversaries, including the National Football League, opioid manufacturers, and Fox

News. Id. ¶¶ 11, 36. The Firm is adverse to the United States in multiple active matters, including

in a suit against the U.S. Navy and one against an agency that unlawfully collected user fees. Id.

¶ 34.

         In connection with the 2020 election, Susman represented various State officers in their

official capacities in defending the results of the 2020 election. Id. ¶ 35. And culminating in 2023,

Susman represented Dominion Voting Systems in defamation actions against Fox News and Fox

News Corporation for false statements about Dominion relating to the 2020 election. Id. ¶ 36. On

March 31, 2023, the trial court granted summary judgment to Dominion on multiple issues,

finding, among other things, that it was “CRYSTAL clear that none of the Statements related to

Dominion about the 2020 election are true.” US Dominion, Inc. v. Fox News Network, 293 A.3d



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1002, 1035-39 (Del. Sup. Ct. 2023). Ultimately, that case resulted in a historic $787 million

settlement, which is believed to be the largest defamation settlement in U.S. history. Srinivasan

Decl. ¶ 36.

         Susman continues to represent Dominion to this day. Susman represents Dominion in

defamation lawsuits against Rudy Giuliani, Sidney Powell, Mike Lindell and MyPillow, Patrick

Byrne, and One America News Network. Id. ¶ 39. The Firm also is currently litigating a case

against Newsmax Media for false and defamatory broadcasts accusing Dominion of vote fraud and

rigging the 2020 presidential election. Id. ¶¶ 37-38. On April 9, 2025, mere hours before the

President’s Order targeting Susman issued, the court in that case ruled on summary judgment that

Newsmax had made false and defamatory statements. Id. ¶ 37.

   II.        The Executive Order and Accompanying “Fact Sheet”

         On April 9, 2025, President Trump issued an Executive Order titled “Addressing Risks

From Susman Godfrey,” which cites no statutory or constitutional authority. Compl. Ex. A.

Susman did not receive any notice from the Administration prior to being subjected to the Order.

Srinivasan Decl. ¶ 60.

         Section 1 of the Order asserts that “action is necessary to address the significant risks,

egregious conduct, and conflicts of interest associated with Susman Godfrey LLP.” Order § 1.

According to Section 1, Susman “spearheads efforts to weaponize the American legal system and

degrade the quality of American elections”; “funds groups that engage in dangerous efforts to

undermine the effectiveness of the United States military through the injection of political and

radical ideology”; and “supports efforts to discriminate on the basis of race,” among other things.

Id. Section 1 also states that “Susman itself engages in unlawful discrimination” and offers

“employment opportunities only to ‘students of color.’” Id. The “Fact Sheet” accompanying the

Order echoes those allegations, branding Susman a “rogue law firm[]” and declaring that Susman

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leads “efforts to weaponize the American legal system and degrade the quality of American

elections.” Compl. Ex. B.

          Section 3 of the Order is focused on disrupting Susman’s relationships with government

contractors. That provision directs federal agencies to “require Government contractors to disclose

any business they do with Susman and whether that business is related to the subject of the

Government contract.”       Order § 3(a).    Section 3 further directs federal agencies to “take

appropriate steps to terminate any contract . . . for which Susman has been hired to perform any

service” and “otherwise align their agency funding decisions” with the “goals and priorities of

[the] Administration.” Id. § 3(b). Within 30 days of the Order’s issuance, agencies must provide

OMB with a report on contract terminations or other actions taken pursuant to Section 3. Id.

          Section 5 of the Order places a number of restrictions on Firm members’ access to federal

buildings, officials, and employment opportunities. Section 5 directs federal agencies to “provide

guidance limiting official access from Federal Government buildings to employees of Susman

when such access would threaten the national security of or otherwise be inconsistent with the

interests of the United States.” Id. § 5(a). Section 5 also requires agencies to “provide guidance

limiting Government employees acting in their official capacity from engaging with Susman

employees to ensure consistency with national security and other interests of the United States.”

Id. Finally, Section 5 instructs agency officials to “refrain from hiring employees of Susman,

absent a waiver . . . that such hire will not threaten the national security of the United States.” Id.

§ 5(b).

   III.      Prior Executive Orders Attacking Law Firms

          The Order follows on the heels of similar executive orders issued by President Trump

attacking law firms. In recent months, President Trump has repeatedly stated that he intends to

retaliate against his political adversaries and the attorneys who represent them. Compl. ¶¶ 98-101.

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After his election victory, the President told Fox News that “[w]e have a lot of law firms that we’re

going to be going after, because they were very dishonest people.” Id. ¶ 101. And once in office,

he made numerous similar statements complaining about supposedly “crooked law firms” and

“violent vicious lawyers” who oppose him. Id.

       Those were not empty threats. On February 25, 2025, the President issued the first of a

series of executive orders targeting law firms. That first order took aim at Covington & Burling

LLP because the firm had represented Jack Smith, the Special Counsel who brought criminal

charges against then-former President Trump in the wake of Trump’s efforts to challenge the 2020

election results. The order stripped security clearances held by “all members, partners, and

employees . . . who assisted former Special Counsel Jack Smith during his time as Special

Counsel.” Id. ¶ 103.

       Similarly retaliatory executive orders issued in the weeks that followed. The President

imposed a range of penalties on Perkins Coie LLP on the ground that it “represent[ed] failed

Presidential candidate Hillary Clinton” and “worked with activist donors” to challenge “election

laws.” Id. ¶ 104. He imposed similar sanctions on Jenner & Block LLP (“Jenner Order”), 3

asserting that Jenner “abus[es] its pro bono practice” by “support[ing] attacks against women and

children based on a refusal to accept the biological reality of sex” and “back[ing] the obstruction

of efforts to prevent illegal aliens from committing horrific crimes and trafficking deadly drugs

within our borders.” Jenner Order § 1; Compl. ¶ 113. The Jenner Order specifically chastises

Jenner for hiring (in the Order’s words) “the unethical Andrew Weissmann,” who worked under

Special Counsel Robert Mueller during the 2017 investigation into Russian interference in the




3
   Executive Order: Addressing Risks from Jenner & Block (Mar. 25, 2025),
https://www.whitehouse.gov/presidential-actions/2025/03/addressing-risks-from-jenner-block/.

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2016 Presidential election. Jenner Order § 1; Compl. ¶ 113. And most recently, the President

issued a similar order as to WilmerHale (“Wilmer Order”), 4 accusing it of supposedly “engag[ing]

in obvious partisan representations,” “support[ing] efforts to discriminate on the basis of race,”

and “further[ing] the degradation of the quality of American elections, including by supporting

efforts designed to enable noncitizens to vote.” Wilmer Order § 1; Compl. ¶ 114. Wilmer, too,

has particular associations with lawyers who drew the President’s ire: Robert Mueller, along with

two of his colleagues, joined the firm after the conclusion of the 2017 Special Counsel

investigation. See Compl. ¶ 114.

       Where firms have challenged those executive orders, they have invariably succeeded in

obtaining TROs. On March 12, 2025, a court in this District (Howell, J.) issued a TRO against the

Perkins Order, holding that Perkins is likely to prevail in establishing that the order violates “at

least” the First, Fifth, and Sixth Amendments. Perkins Tr. at 74:7-21. At the hearing, Judge

Howell described the order as an “effort to intimidate” attorneys that “casts a chilling harm . . . of

blizzard proportions across the entire legal profession.” Id. at 95:22-24, 96:1-2. Courts in this

District likewise issued TROs against the Jenner Order (Bates, J.) and the Wilmer Order (Leon,

J.). In Wilmer’s case, Judge Leon concluded that “[t]here is no doubt this retaliatory action chills

speech and legal advocacy, or that it qualifies as a constitutional harm.” Wilmer TRO at 2.

       The President also has entered into what he has deemed “settlements” with law firms in

order to relieve them of the crushing harms associated with an executive order. On March 20,

2025, the President rescinded an executive order against Paul Weiss similar to the ones described

above, stating in a post on social media that he was doing so “in light of a meeting with [the firm’s]




4
 Executive Order: Addressing Risks from WilmerHale (Mar. 27, 2025), https://www.whitehouse.
gov/presidential-actions/2025/03/addressing-risks-from-wilmerhale/.

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Chairman, Brad Karp, during which Mr. Karp” allegedly “acknowledged the wrongdoing of

former Paul, Weiss partner, Mark Pomerantz, the grave dangers of Weaponization, and the vital

need to restore our System of Justice” and made other concessions. Anders Decl. Ex. C. The

President also withdrew the threat of executive orders against Skadden Arps, Willkie Farr &

Gallagher, and Milbank after those firms each agreed to provide $100 million in pro bono work

for causes selected by the President; to commit to pro bono activities that “represent the full

political spectrum, . . . including conservative ideals”; and to “strong[ly] commit[] to ending the

Weaponization of the Justice System and the Legal Profession.” Id. Ex. D (Skadden agreement);

see id. Ex. E (Willkie agreement); id. Ex. F (Milbank agreement).

       Two days after issuing the Order at issue in this case, the President announced that he had

reached deals with five more law firms. Compl. ¶ 123. Those deals are similar to the ones that

came before, except that several include not only promises of certain pro bono work but also

promises of “other free Legal services” for the President. Anders Decl. Ex. G. Four of those

firms—Kirkland & Ellis LLP, Allen Overy Shearman Sterling US LLP, Simpson Thacher &

Bartlett LLP, and Latham & Watkins LLP—jointly agreed to provide an “aggregate total of at least

$500 Million Dollars in pro bono and other free Legal services . . . to causes that President Trump

and the Law Firms both support and agree to work on.” Id. The firms also affirmed that they

would not “engage in illegal DEI discrimination and preferences.” Id. In return, the President

announced, the EEOC had “withdrawn” letters seeking information about the firms’ employment

practices and would “not pursue any claims related to those issues.” Id.           The fifth firm,

Cadwalader, Wickersham & Taft LLP, made similar “commitments,” agreeing to provide “at least

$100 Million Dollars in pro bono Legal Services . . . to causes that President Trump and

Cadwalader both support.” Id. Ex. H.



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   IV.      The Order Is Inflicting Irreparable Harm

         The Order is intended by its terms to disrupt Susman’s existing and potential attorney-

client relationships and representations, and to do so immediately, at the expense of the Firm’s

attorneys and its clients—all without any notice or an opportunity to be heard. Susman was given

no opportunity to respond to the false charges in the Order and Fact Sheet or to explain to the

government the Order’s inevitable impact.

         The resulting immediate and irreparable harm is clear—even beyond the inherent

irreparable harm associated with a violation of First Amendment or other constitutional rights.

First, refusals by federal officials to meet or otherwise “engag[e]” with Susman lawyers or to

permit them to access federal buildings, Order § 5, will immediately and irreparably harm both the

Firm’s legal practice and its clients’ interests, Srinivasan Decl. ¶¶ 64-72. To carry on the practice

of law, Susman attorneys need to be able to access federal buildings and interact with federal

officials this very week—and every week thereafter. See id. ¶¶ 19-21.

         There is every reason to think that such refusals are imminent, as firms subject to previous

executive orders were quickly excluded from planned meetings with federal officials. See, e.g.,

Wilmer TRO at 4 (“[S]ince the Executive Order issued, the federal government has already

cancelled two meetings with plaintiff’s attorneys, at the last minute and without explanation.

Should Section 5 be enforced, plaintiff would be thoroughly hamstrung from representing clients

because its attorneys could not enter federal courthouses or other buildings, or meet with federal

employees regarding cases.”). And even the mere overhanging threat that the Firm’s ability to

access federal officials and buildings could be cut off at any moment creates intolerable uncertainty

that seriously interferes with the Firm’s existing attorney-client relationships and undermines its

ability to enter new ones. Srinivasan Decl. ¶ 66.



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       Second, even beyond that serious problem, the Order is discouraging clients with federal

government contracts from continuing their relationships with Susman or from beginning new

relationships. The Order forces government contractors to disclose any relationship they have with

the Firm and directs agencies to terminate contracts with contractors who have hired Susman to

perform any contract-related service. Order § 3. Based on these provisions, Susman clients have

already begun to inquire about the effects of the Order and whether the Order affects Susman’s

ability to access the federal courts or could negatively affect Susman’s continued representation.

Srinivasan Decl. ¶ 69. By provoking those discussions, the Order has already resulted in

harassment and harm to Susman and its clients.

       More generally, the Order’s directives are intended to, and do, provide clients with a

powerful incentive to seek alternate representation. Other targeted firms have already seen that

dynamic play out. After the Perkins Order issued, agencies began reaching out to government

contractors, directing them to report on their relationship with Perkins. Perkins Tr. at 105:2-4.

And Perkins began to experience attrition immediately. See Declaration of David J. Burman ¶ 29,

Perkins Coie LLP v. Dep’t of Just., No. 25-cv-716 (D.D.C. Mar. 11, 2025), ECF No. 2-2. The

Order is intended to have the same effect here. Indeed, for many Firm clients, the existence of

their relationship with Susman is nonpublic information. Srinivasan Decl. ¶ 69. Now, the mere

fact of that association may need to be disclosed, and it could make them a target for reprisal.

Defendants have made it crystal clear that they expect to find a way to punish law firms such as

Susman, one way or another. See Status Report, Perkins Coie LLP v. Dep’t of Just., No. 25-cv-

716 (D.D.C. Mar. 20, 2025), ECF 32 (explaining in guidance, issued after the Perkins TRO, that

the “government reserves the right to take all necessary and legal actions in response to the

‘dishonest and dangerous’ conduct of Perkins Coie LLP”).



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        Finally, the Order is more broadly harmful to the Firm’s reputation and its business. It

contains nakedly false, inflammatory statements about the Firm—ones that come directly from the

President of the United States. See, e.g., Order § 1 (accusing Susman of “fund[ing] groups that

engage in dangerous efforts to undermine the effectiveness of the United States military”). Those

disparaging falsehoods tarnish Susman’s good name, thereby discouraging existing clients from

continuing to work with the Firm and dissuading potential clients from retaining the Firm in the

first place. Srinivasan Decl. ¶ 75. And the Order’s other provisions only compound the risks for

Susman’s business. By impugning the Firm and attempting to interfere with Susman’s ability to

provide high-quality representation, the Order disincentivizes clients from choosing Susman over

its competitors and threatens the Firm’s bottom line. Id. ¶ 72.

                        LEGAL STANDARD AND REVIEWABILITY

        Susman Godfrey is entitled to a temporary restraining order enjoining implementation of

at least Sections 1, 3, and 5 of the Executive Order. “An application for a TRO is analyzed using

the same factors applicable to a request for preliminary injunctive relief.” Harris v. Bessent, 2025

WL 521027, at *2 (D.D.C. Feb. 18, 2025). To obtain such relief, a plaintiff must show “(1) that

he is likely to succeed on the merits, (2) that he is likely to suffer irreparable harm in the absence

of preliminary relief; (3) that the balance of equities tips in his favor; and (4) that an injunction is

in the public interest.” Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014) (cleaned up).

Where “the movant seeks to enjoin the government, the final two TRO factors . . . merge.” D.A.M.

v. Barr, 474 F. Supp. 3d 45, 67 (D.D.C. 2020).

        The Executive Order is immediately reviewable. The Order is immediately effective and

already is being implemented, and the Firm is feeling its “effects” in a “concrete way.” Nat’l Park

Hosp. Ass’n v. Dep’t of Interior, 538 U.S. 803, 807-08 (2003). The issues raised in this motion



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are thus “fit[] . . . for judicial decision” now. Saline Parents v. Garland, 88 F.4th 298, 306 (D.C.

Cir. 2023); see Susan B. Anthony List v. Driehaus, 573 U.S. 149, 162 (2014) (permitting review

where plaintiff’s conduct was “arguably proscribed” by law); Cooksey v. Futrell, 721 F.3d 226,

240 (4th Cir. 2013) (First Amendment rights “are particularly apt to be found ripe for immediate

protection”). Moreover, “the hardship” to Susman of “withholding court consideration” until some

later date would be immense. Saline Parents, 88 F.4th at 306. This case is not “dependent on

contingent future events that may not occur as anticipated, or indeed may not occur at all,” Trump

v. New York, 592 U.S. 125, 131 (2020) (cleaned up)—the harm is unfolding in real time. That is

no doubt why every court to have been presented with a law firm’s challenge to the executive order

issued against it has immediately issued a TRO. Perkins Tr. at 74:7-21; Wilmer TRO at 4-5; Jenner

TRO at 1-2.

                                           ARGUMENT

   I.       SUSMAN GODFREY IS LIKELY TO SUCCEED ON THE MERITS

         The Firm is likely to succeed on the merits of its claims. The Executive Order is flagrantly

unconstitutional. The Order violates the First Amendment because its punishments against

Susman Godrey constitute unlawful retaliation, viewpoint discrimination, and otherwise unlawful

restrictions on basic First Amendment rights to speech, association, and petitioning of the courts;

it fails to comport with fundamental principles of due process, including the right to equal

protection of the laws; and it violates the right to counsel of Susman’s clients. Those constitutional

violations are especially egregious because the President does not have any statutory or

constitutional authority to punish a law firm as the Order punishes Susman. That the Order

includes boilerplate language stating that agencies should implement it “to the extent permitted by

law” (or the like) does nothing to “rescu[e]” the Order from those fatal legal deficiencies. See City

& Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1239-40 (9th Cir. 2018).

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       A.      The Order Violates the First Amendment

       Susman Godfrey will succeed in demonstrating that the Order violates the First

Amendment by (1) retaliating against the Firm and its clients for their actual and perceived exercise

of speech and associational rights, (2) discriminating against the Firm on the basis of viewpoint,

(3) infringing on the right to petition the government, and (4) violating the right to freedom of

association.

               1.      The Order Retaliates in Violation of the First Amendment

       It is bedrock law that government officials may not “use the power of the State to punish

or suppress disfavored expression.” Vullo, 602 U.S. at 188. The First Amendment “prohibits

government officials” from retaliating “after the fact” based on “protected speech,” Hous. Cmty.

Coll. Sys. v. Wilson, 595 U.S. 468, 474 (2022) (quoting Nieves v. Bartlett, 587 U.S. 391, 398

(2019)) (cleaned up), as well as from taking actions designed to coerce or chill speech in the future,

Vullo, 602 U.S. at 189; see Laird v. Tatum, 408 U.S. 1, 11 (1972) (“constitutional violations may

arise from the deterrent, or ‘chilling,’ effect of governmental regulations” in response to protected

expression). That principle applies to retaliation based not only on a target’s actual expressions,

but also on its viewpoint as perceived by the government—even if that perception is inaccurate.

See Heffernan v. City of Paterson, N.J., 578 U.S. 266, 272-73 (2016).

       To prevail on its claim for First Amendment retaliation, Susman must establish that it

engaged in conduct protected under the First Amendment; that a causal link exists between that

exercise of a constitutional right and adverse action; and that the government took adverse action

sufficient to deter a person of ordinary firmness from speaking again. Aref v. Lynch, 833 F.3d 242,

258 (D.C. Cir. 2016). Susman is very likely to prove each of those three elements because the

Order is undisguised retaliation that satisfies every element on its face. It unapologetically—and

severely—punishes Susman for its attorneys’ advocacy on behalf of clients and causes that the

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President does not like. And it does so for the avowed purpose of deterring Susman and other law

firms from engaging in that sort of constitutionally protected conduct.

       First, it is beyond dispute that Susman’s advocacy on behalf of its clients, advice to its

clients, and petitioning of the courts constitute “constitutionally protected expression” that

“implicat[es] central First Amendment concerns.” Velazquez, 531 U.S. at 547-48; see McDonald

v. Smith, 472 U.S. 479, 484 (1985); Bill Johnson’s Rests., Inc. v. NLRB, 461 U.S. 731, 741 (1983).

It is equally beyond dispute that the First Amendment prohibits the government from deeming

certain legal positions, otherwise permissible in court, to be off limits or to serve as grounds to

punish the lawyers taking those positions. See Velazquez, 531 U.S. at 546-48 (First Amendment

violation where statute attempted to “exclude from litigation those arguments and theories

Congress finds unacceptable but which by their nature are within the province of the courts”);

Ukrainian-Am. Bar Ass’n, Inc. v. Baker, 893 F.2d 1374, 1380 (D.C. Cir. 1990) (First Amendment

“violated if the Government affirmatively interferes with constitutionally protected litigation”);

Eng v. Cooley, 552 F.3d 1062, 1069 (9th Cir. 2009) (“state action designed to retaliate against and

chill an attorney’s advocacy for his or her client strikes at the heart of the First Amendment”).

       Second, it is unmistakable from the face of the Order that the Order was issued for

retaliatory reasons. Unlike in most cases, therefore, there is no need to infer retaliatory motive

from circumstantial evidence; the Order itself announces that it was issued to punish Susman for

its protected advocacy. The Order states that it is animated by Susman’s supposed “efforts to

weaponize the American legal system and degrade the quality of American elections” and the

Firm’s work on behalf of “clients” whom the President has deemed at odds with unspecified

“American interests.”      Order § 1.     The Order’s assertion that Susman has engaged in

representations that “degrade the quality of American elections” is transparently a reference to



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Susman’s representation of Dominion Voting Systems in connection with Fox News’ claims that

Dominion attempted to influence the 2020 election against President Trump, as well as Susman’s

representation of state elections officials in litigation defending the integrity of the 2020 election.

See Srinivasan Decl. ¶¶ 35-36; Wilmer TRO at 2 (“The retaliatory nature of the Executive Order

at issue here is clear from its face—not only from Section 1, but also from the Fact Sheet published

the same day.”); Tr. of TRO Hearing at 48:1-5, Jenner & Block LLP v. Dep’t of Just., No. 25-cv-

00916 (D.D.C. Mar. 28, 2025), ECF No. 10 (“Jenner Tr.”) (Jenner order “facially retaliates against

Jenner because of its speech and association”).

       Context provides further corroboration. The Order is one of several similar orders targeting

law firms that have represented the President’s perceived political and personal opponents or have

employed lawyers who have undertaken public representations adverse to the President.

Srinivasan Decl. ¶¶ 39-47; Compl. ¶¶ 103-123. The President’s rescission of the Paul Weiss Order

underscores the retaliatory motive behind these orders, as it was accompanied by a compelled mea

culpa and a commitment to spend $40 million on pro bono work that aligns with the

Administration’s views. See Anders Decl. Ex. C.

       Third, the Order plainly “constitutes a sufficiently adverse action” against Susman “to give

rise to an actionable First Amendment claim.” Hous. Cmty. Coll. Sys., 595 U.S. at 477. The Order

imposes devastating consequences on Susman. It endeavors to drive clients away from the Firm

by threatening those clients with disfavored contracting treatment—by branding Susman as an

enemy engaging in “activities inconsistent with the interests of the United States,” Order § 1, and

then directing all agencies to “assess[]” government contracts with any Susman clients and to

“align their agency funding decisions with the interests of the citizens of the United States,” id.

§ 3. It restricts Susman from engaging with federal employees—a routine activity that is necessary



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for a wide range of Susman’s representations. And it threatens to deny Susman’s personnel access

to federal government buildings, including federal courthouses. Such clear retaliation against the

Firm and its clients violates the First Amendment.

       Those draconian punishments easily meet the standard for “adverse action.” There can be

no serious dispute that the Order will—if not restrained—damage Susman’s business prospects,

disrupt its relations with current and future clients, and impede its lawyers’ ability to zealously

advocate as counsel. See Srinivasan Decl. ¶¶ 64-75. Proving the point, on March 19, 2025, Paul

Weiss attorneys moved to withdraw from a major criminal case, explaining that the defendant

“terminated [the firm]’s representation of him” “[i]n response to the March 14 Executive Order,”

out of “concern[] that Paul, Weiss’s ongoing involvement in the matter could in and of itself

prejudice the review of his case.” Withdrawal Mem. at 2-3, United States v. Coburn, No. 19-cr-

00120 (D.N.J.), ECF No. 1012-1.         Those grave harms would “deter a [lawyer] of ordinary

firmness” from representing the President’s political opponents or advancing positions that are

adverse to his interests. Cf. Aref, 833 F.3d at 258. Indeed, that is the whole point.

       That conclusion is reinforced by the fact that the adverse actions have been taken by the

President himself.   Vullo, 602 U.S. at 191-92.       It is hard to imagine a greater and more direct

threat than one personally delivered by the President of the United States to be carried out by the

heads of all federal agencies. And the Order cannot be “reasonably understood” as anything other

than a “threat[ of] adverse action” against those who would follow in Susman’s footsteps, as it

directs agency heads to bar Susman attorneys from doing the day-to-day work necessary to

represent their clients. Id. at 189 (quoting Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 68 (1963)).

As Judge Howell concluded with respect to the Perkins Order, “the plain language of [the]

Executive Order . . . confirms that . . . government officials are attempting to . . . punish and



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suppress views that the government, or at least the current administration, disfavors.” Perkins Tr.

at 79:15-20.

               2.      The Order Constitutes Impermissible Viewpoint Discrimination

       The Executive Order also violates the First Amendment because it discriminates against

Susman for the Firm’s viewpoints. The Order’s reference to Susman’s participation in the “legal

system” in the context of “elections” can refer to little other than the Firm’s representation of

Dominion, state government entities, and other clients in connection with the 2020 election. See

Srinivasan Decl. ¶¶ 35-37. The Order thus punishes the Firm for the positions it has taken—an

“egregious form of content discrimination” that is subject to strict scrutiny.    Reed v. Town of

Gilbert, 576 U.S. 155, 168-71 (2015) (quoting Rosenberger v. Rector & Visitors of Univ. of Va.,

515 U.S. 819, 829 (1995)).

       “At the heart of the First Amendment’s Free Speech Clause is the recognition that

viewpoint discrimination is uniquely harmful to a free and democratic society.” Vullo, 602 U.S.

at 187. And viewpoint discrimination in the context of legal advocacy is particularly pernicious.

See Velazquez, 531 U.S. at 547 (holding unlawful an attempt to “prohibit” certain “advice or

argumentation” by lawyers). Government punishment based on petitioning the court on certain

grounds or representing particular clients in court, or restrictions on undertaking those activities,

“threatens severe impairment of the judicial function.” Id. at 546. That is because an “informed,

independent judiciary” “presumes an informed, independent bar.” Id. at 545. By purporting to

punish Susman for taking particular disfavored positions—including positions that are disfavored

because they are adverse to the government—the Order not only impermissibly punishes Susman

for its viewpoint, but also undermines the rule of law by hindering the courts’ ability to decide

cases brought before them. See id. at 548 (First Amendment “was fashioned to assure unfettered



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interchange of ideas for the bringing about of political and social changes” (citation omitted));

Order § 1 (President is sanctioning Susman because, in his view, Susman has engaged in

“egregious conduct” by “fund[ing] groups” that “inject . . . political and radical ideology”).

       Such speaker- and viewpoint-based sanctions constitute a “‘blatant’ and ‘egregious form

of content discrimination’” subject to strict scrutiny, which means that the government’s action

may be sustained “only if the government proves” that the Order is “narrowly tailored to serve

compelling state interests.” Reed, 576 U.S. at 163, 168-71 (quoting Rosenberger, 515 U.S. at 829).

But the existence of “viewpoint discrimination is uniquely harmful to a free and democratic

society,” Vullo, 602 U.S. at 187, which “is ‘all but dispositive’” of the strict-scrutiny test, Nat’l

Ass’n of Diversity Officers in Higher Educ. v. Trump, 2025 WL 573764, at *15 (D. Md. Feb. 21,

2025) (quoting Sorrell v. IMS Health Inc., 564 U.S. 552, 571 (2011)). As the Supreme Court

underscored in Vullo, “the First Amendment prohibits government officials from relying on the

‘threat of invoking legal sanctions and other means of coercion . . . to achieve the suppression’ of

disfavored speech.” 602 U.S. at 189 (emphasis added).

       The Order does not come close to clearing the high bar of strict scrutiny. It should go

without saying that the Executive Branch has no compelling interest in punishing lawyers for, or

chilling them from, advocating for clients whose interests are adverse to the government—or

whose positions were adverse to those of the Trump campaign during the 2020 election. See Neb.

Press Ass’n v. Stuart, 427 U.S. 539, 547 (1976) (Bill of Rights was drafted by those “familiar with

the historic episode in which John Adams defended British soldiers charged with homicide for

firing into a crowd of Boston demonstrators”); Velazquez, 531 U.S. at 545-48 (recognizing

compelling interest in permitting lawyers to challenge constitutionality of statutes). And although

the President has in the Order purported to deem certain forms of advocacy contrary to the interests



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of the United States, in fact the zealous, ethical representation of those disfavored by the

government has long been part of our constitutional tradition and is recognized as essential to

reining in abuses of government power. See NAACP v. Button, 371 U.S. 415, 440 (1963) (exercise

“of First Amendment rights to enforce constitutional rights through litigation” on behalf of

unpopular minorities “cannot be deemed malicious” as “a matter of law”).

       Nothing in the Order somehow conjures into existence any compelling interest. Although

the Order asserts (without basis) vague allegations of misconduct, the government has no

compelling interest in broadly punishing law firms for alleged attorney misconduct, given that the

courts have well-established mechanisms for addressing any alleged claims of misconduct and the

Executive Branch has no history or tradition of taking on that responsibility and no authority to do

so. See infra pp. 35-38. The Order’s bare invocation of “national security” does not suffice either,

as the Order leaves entirely unexplained what particular “national security” interest it intends to

serve and contains no particularized findings concerning “national security.” See Order § 1; Dep’t

of Com. v. New York, 588 U.S. 752, 785 (2019) (courts are “not required to exhibit a naiveté from

which ordinary citizens are free” (citation omitted)). In particular, the Order’s unexplained

reference to supposed “fund[ing]” of “groups that engage in dangerous efforts to undermine the

effectiveness of the United States military through the injection of political and radical ideology,”

Order § 1, is so vague that even Susman has no idea to what it might be referring.

       For the same reasons, the Order is not narrowly tailored: it lacks any “precision of

regulation,” a fatal defect when “political expression or association is at issue.” In re Primus, 436

U.S. 412, 432, 434 (1978). The Order, for example, threatens the termination of all government

contracts held by any clients of Susman—yet the Order is completely silent as to any justification

for such a far-reaching and drastic punishment. And the Order punishes Susman attorneys and



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staff who have nothing to do with the conduct alleged in the order, including litigation regarding

“elections,” Order § 1—extending to, for example, the Firm’s patent lawyers who engage with the

Patent Trial and Appeal Board and any firm lawyer who has business with an adjudicative agency.

               3.      The Order Violates the Petition Clause

       The Order independently deprives the Firm of its “liberty interest in [its] First Amendment

right to petition the government.” Trentadue v. Integrity Comm., 501 F.3d 1215, 1236-37 (10th

Cir. 2007); Arnaud v. Odom, 870 F.2d 304, 311 (5th Cir. 1989); see Button, 371 U.S. at 429. That

protected right to petition “extends to all departments of the Government,” including courts. Cal.

Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 510 (1972); see Broudy v. Mather, 460

F.3d 106, 117 & n.6 (D.C. Cir. 2006). The Order’s provisions punishing Susman for past

petitioning activity and restricting Susman’s ability to petition federal employees and appear

before federal agencies on federal property are in themselves a violation of the right to petition.

But the Order also purports to restrict access to federal courthouses—a category encompassed

within the Order’s sweeping reference to “Federal Government buildings.” Order § 5. Restricting

access to federal courthouses is a particularly blatant violation of the right to petition. See, e.g.,

Borough of Duryea v. Guarnieri, 564 U.S. 379, 387 (2011).

               4.      The Order Abridges Freedom of Association

       The Order’s demand that government contractors “disclose any business they do with

Susman” violates Susman’s freedom of association under the First Amendment. Order § 3. The

Order subjects Susman clients who have government contracts to risks of economic reprisal and

other forms of governmental hostility simply because they have chosen to retain and associate with

Susman. The Order provides that “[w]ithin 30 days of the date of this order, agencies shall submit

to the Director of the Office of Management and Budget an assessment of contracts with Susman



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or with entities that do business with Susman effective as of the date of this order and any actions

taken with respect to those contracts in accordance with this order.” Id. That is a blatant threat

that any government contractor who has associated with Susman can expect economic

consequences and other repercussions in short order. The Fact Sheet confirms as much, stating

that “the Federal Government will terminate contracts that involve Susman,” to “ensure taxpayer

dollars no longer go to contractors whose earnings subsidize activities not aligned with American

interests.” Compl. Ex. B. The open and acknowledged goal of the demand for disclosure is thus

to chill clients from continuing to retain Susman as their counsel.

       That chilling effect burdens Susman’s right to associate with its clients, thereby triggering

exacting scrutiny, which the Order fails for the reasons stated above. See Ams. for Prosperity

Found. v. Bonta, 594 U.S. 595, 607 (2021). The governmental interest underlying the Order—

trying to impede the ability of law firms to represent clients in matters that the President does not

like—is not remotely legitimate, let alone a “sufficiently important” interest to satisfy exacting

scrutiny. Id. And the Order is not narrowly tailored to that (illegitimate) interest. Forced

“disclos[ure]” of “any business [clients] do with Susman,” Order § 3(a), even if not related to a

government contract or to any of the litigation with which the President takes issue, is not narrowly

tailored to any professed interest in avoiding subsidizing particular litigation. See USAID v. All.

for Open Soc’y Int’l, Inc., 570 U.S. 205, 214-15 (2013). Nor is forced disclosure of “whether that

business is related to the subject of the Government contract.” Order § 3(a) (emphasis added).

Those disclosures are instead simply designed to leverage the government’s control over federal

funding to punish Susman. But “Government officials cannot attempt to coerce private parties in

order to punish or suppress views that the government disfavors.” Vullo, 602 U.S. at 180.




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       B.      The Order Violates Susman Godfrey’s Right to Due Process

       The Order is an equally blatant violation of Susman Godfrey’s due process rights. The

safeguards of the Due Process Clause are “‘implicated’ whenever the government imposes ‘civil

penalties.’” Karem v. Trump, 960 F.3d 656, 664 (D.C. Cir. 2020) (quoting BMW of N. Am., Inc.

v. Gore, 517 U.S. 559, 574 n.22 (1996)). And the Due Process Clause is violated when the plaintiff

(1) faces a deprivation of a protected liberty or property interest, and (2) has not received the

process that is due. E.g., Logan v. Zimmerman Brush Co., 455 U.S. 422, 428 (1982). Susman

unquestionably satisfies that test and therefore is likely to succeed on its due process claim.

Moreover, the Order’s impermissible vagueness creates an independent due process violation.

               1.      The Order Deprives Susman Godfrey of Protected Liberty and
                       Property Interests

       Protected liberty interests “[w]ithout doubt” include “not merely freedom from bodily

restraint but also the right of the individual to contract, to engage in any of the common occupations

of life,” and, among other things, “generally to enjoy those privileges long recognized as essential

to the orderly pursuit of happiness.” Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 572

(1972) (internal quotation marks, ellipsis, and citations omitted). The Order deprives Susman of

protected liberty and property interests in at least three ways: it (a) denies Susman and its attorneys

the right to follow their chosen profession; (b) harms Susman’s reputation; and (c) interferes with

Susman’s protected contractual relationships with clients.

       a. Right to Chosen Profession. “One of the liberty interests protected by the Fifth

Amendment is the right to ‘follow a chosen profession free from unreasonable governmental

interference.’” Campbell v. District of Columbia, 894 F.3d 281, 288 (D.C. Cir. 2018) (quoting

Abdelfattah v. Dep’t Homeland Sec., 787 F.3d 524, 538 (D.C. Cir. 2015)); see Schware v. Bd. of

Bar Exam., 353 U.S. 232, 238-39 (1957) (due process bars unreasonable government exclusion of


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“a person from the practice of law or from any other occupation”). The government denies the

right to pursue one’s chosen profession by an act that (1) “formally or automatically exclude[s]”

someone from work on government contracts “or from other government employment

opportunities,” or (2) has “the broad effect of largely precluding” her “from pursuing her chosen

career.” O’Donnell v. Barry, 148 F.3d 1126, 1141 (D.C. Cir. 1998) (quoting Kartseva v. Dep’t of

State, 37 F.3d 1524, 1528 (D.C. Cir. 1994)).

        The Order does both. The Order brands Susman as acting “inconsistent with the interests

of the United States,” requires all federal contractors to disclose “any business they do with

Susman,” and orders agency officials to review those contracts and “align their agency funding

decisions with the interests of the citizens of the United States.” Order §§ 1, 3. That is an

unmistakable instruction to terminate government contracts with Susman clients. Simply put, the

avowed purpose and predictable effect of the Order is to force Susman’s government-contractor

clients to end their relationships with Susman. See Declaration of Robert E. Hirshon (“Hirshon

Decl.”) ¶ 21. That pressure on clients to disassociate from Susman—not to mention the pressure

on potential clients to avoid associating with Susman in the first place—is designed to destroy the

client relationships that are the sine qua non of legal practice. In addition, the Order’s purpose and

“effect” is to preclude Susman from providing effective legal representation to a wide range of

clients through limitations on its lawyers’ ability to enter federal facilities and interact with federal

officials. See O’Donnell, 148 F.3d at 1141. Section 5(a) of the Order gives federal officials broad

discretion to limit Susman personnel’s “access [to] Federal Government buildings,” including, it

appears, every federal court building in the Nation, as well as Article I courts, administrative

agencies, federal prosecutors’ offices, and innumerable other federal buildings that members of

the private bar must regularly enter in order to do their jobs. The Order also restricts Susman from



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“engaging” with federal “[g]overnmental employees” such as prosecutors, civil enforcement staff,

investigators, and court personnel. Order § 5(a). Construed according to its terms, the Order

would restrict Susman’s lawyers from arguing motions and appeals or participating in trials in

federal cases, engaging with federal regulators, meeting with federal prosecutors, and more. That

result is untenable for a law firm whose lifeblood is engaging in precisely that conduct on a daily

basis.

           b. Reputational Interest. The Order deprives Susman of its “good name, reputation, honor,

[and] integrity.” Wisconsin v. Constantineau, 400 U.S. 433, 437 (1971); see Perkins Tr. at 85:5-

9. The Supreme Court has made clear that Executive Branch “findings of wrongdoing” that “could

have an adverse impact on [an entity’s] reputation” must be issued in accordance with due process.

FCC v. Fox Television Stations, Inc., 567 U.S. 239, 255-56 (2012); see, e.g., Goss v. Lopez, 419

U.S. 565, 574-75 (1975); Nat’l Counsel of Resistance of Iran v. Dep’t of State, 251 F.3d 192, 204

(D.C. Cir. 2001). The Order tarnishes the Firm’s reputation in no uncertain terms, announcing that

all Susman attorneys are unworthy to work on government contracts (or for government

contractors); possess national-security information; enter government buildings; engage with

government employees; receive government funds, property, or services; or be hired by

government agencies. See Order §§ 1, 2, 3, 5. The Order also contains a long series of stigmatizing

assertions about the purportedly “egregious” nature of Susman’s actions, stating (for example) that

the Firm has “degrade[d] the quality of American elections” and engaged in “conflicts of interests.”

Id. § 1.

           c. Protected Contractual Relationships. Finally, the Order deprives Susman of its

constitutionally protected property interest in contracts with its clients. See FDIC v. Mallen, 486

U.S. 230, 240 (1988); see also Toxco Inc. v. Chu, 724 F. Supp. 2d 16, 27 (D.D.C. 2010)



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(“[N]umerous courts have held that contracts between private parties may give rise to property

interests sufficient to trigger Fifth Amendment due process protections.”). As discussed, the Order

punishes Susman’s clients for contracting with the Firm by, for example, depriving those clients

of government contracts.     That interferes directly with Susman’s own “private contractual

agreements . . . with its clients,” because it effectively penalizes clients for choosing to follow

through on their contractual obligations to use the Firm’s services. Perkins Tr. at 86:4-8 (citing

UAW Loc. 737 v. Auto Glass Emps. Fed. Credit Union, 72 F.3d 1243, 1250 (6th Cir. 1996), and

Brock v. Roadway Express, 481 U.S. 252, 260 (1987) (plurality opinion)).

               2.     The Order Issued With No Process Whatsoever

       Before engaging in a deprivation of liberty or property, the government must provide “fair

notice of conduct that is forbidden or required,” Fox Television, 567 U.S. at 253, 257, and of “the

severity of the penalty that [the government] may impose,” Gore, 517 U.S. at 574. And to be

“constitutionally sufficient,” notice should be provided “prior to [a person’s] being sanctioned.”

Fox Television, 567 U.S. at 257 (emphasis added).

       Susman was not given prior notice that its conduct would trigger executive sanctions, and

the Order does not identify any law that the Firm allegedly violated. The Firm learned of the

Order’s existence and terms, along with the general public, when the President issued it on April

9 on live television. Susman never received a chance to challenge the imposition of sanctions

before the Order took effect. As a result, the Firm was deprived of “an opportunity to speak up in

[its] own defense.” Fuentes v. Shevin, 407 U.S. 67, 81 (1972). It could not rebut the government’s

defamatory assertions—such as the claims that the Firm has taken action to “degrade the quality

of American elections,” to “undermine the effectiveness of the United States military,” or




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“engage[] in unlawful discrimination,” Order § 1—or explain why, even if any of those false

allegations were true, the punishment was inappropriate and disproportionate.

       To be clear, the Order’s perfunctory references to “risk[],” the “United States military,”

and “national security,” Order § 1, do not absolve the government of its due process obligations.

The Order says nothing to suggest that any national-security concerns are actually implicated here,

and there is no reason to believe that they are. And even where such concerns are implicated,

process is still required before the government may impair a protected liberty interest or stigmatize

an entity. See, e.g., Hamdi v. Rumsfeld, 542 U.S. 507, 533 (2004) (plurality opinion) (citizen

seeking to challenge “classification as an enemy combatant must receive notice of the factual basis

for his classification” and “a fair opportunity to rebut” before a “neutral decisionmaker”); Joint

Anti-Fascist Refugee Comm. v. McGrath, 341 U.S. 123, 165-74 (1951) (Frankfurter, J.,

concurring) (due process requires notice and hearing for an organization slated to be designated as

“Communist”); Nat’l Council of Resistance of Iran, 251 F.3d at 201, 208-09 (designating an entity

a “foreign terrorist organization” without adequate notice or hearing violated due process).

Susman received no process at all.

       Any invocations of national security cannot ignore the weighty interests that militate

against the Order’s severe punishments. When, as here, the government “threatens to inhibit the

exercise of constitutionally protected rights,” a “more stringent” fair-notice test applies. Vill. of

Hoffman Est. v. Flipside, Hoffman Est., Inc., 455 U.S. 489, 498-99 (1982). Indeed, because

heartland “[F]irst [A]mendment guarantee[s]” are implicated, the government’s decision to punish

Susman cannot be made “arbitrarily or for less than compelling reasons.” Sherrill v. Knight, 569

F.2d 124, 129 (D.C. Cir. 1977). But the Order impermissibly seeks to penalize the Firm for its

association with clients that the President perceives to be political adversaries. That arbitrary and



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improper justification underscores the Firm’s likelihood of success on the merits of its due process

claim.

                3.     The Order Is Impermissibly Vague

         The Order’s vagueness is an independent due process flaw.                A federal law is

unconstitutionally vague and thus violates due process if it “fails to provide a person of ordinary

intelligence fair notice of what is prohibited, or is so standardless that it authorizes or encourages

seriously discriminatory enforcement.” United States v. Williams, 553 U.S. 285, 304 (2008)

(citation omitted).

         The Order is purposefully drafted to create immediate, irremediable uncertainty about the

scope of the disabilities placed on Susman and its clients—and to leverage that vagueness for its

in terrorem effect. For example, the Order’s “Personnel” provision definitively directs federal

agencies to “limit[]” Susman’s access to federal buildings and its ability to engage with federal

employees, both to the extent warranted by the purported “interests of the United States.” Order

§ 5. Given that the Order also brands Susman as engaging in “activities inconsistent with the

interests of the United States,” id. § 1, there is no doubt that the effect of the Order is to restrict

Susman’s ability to engage in the basic activities of its law practice. But Susman and its clients

have no way to know the full scope of that restriction. The Order’s reference to “interests of the

United States” is so standardless that it gives agencies sweeping discretion to further restrict

Susman’s access over time, perhaps in retaliation for future Susman representations deemed to be

somehow “inconsistent with the interests of the United States.” Id. Other aspects of the Order

exacerbate that concern. For instance, the reference to “Federal Government buildings” is on its

face broad enough to include federal courthouses—an interpretation that the government has not

disclaimed in proceedings involving executive orders against other firms. See Wilmer TRO at 4



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(construing executive order to encompass federal courthouses); Perkins Tr. at 88:21-23

(government counsel “concede[d] that we don’t know exactly what [a materially identical

provision] means”). The Order’s vagueness is thus designed to give federal agencies sweeping

ability to impose severe consequences on Susman for undefined future conduct—and to deter

Susman from engaging in representations and advocacy that could be perceived as adverse to the

President’s political interests or the government’s interests more broadly. That is a textbook case

of unconstitutional vagueness—vagueness that is designed to enable “arbitrary and discriminatory

application,” Grayned v. City of Rockford, 408 U.S. 104, 108-09 (1972), and that is especially

impermissible given that “speech is involved,” Fox Television, 567 U.S. at 253-54.

       C.      The Order Violates Susman Godfrey’s Right to Equal Protection of the Laws

       Susman Godfrey also will succeed on its equal protection claim. 5 The Order singles out

Susman for differential treatment, and the government has no legitimate justification for treating

Susman differently than similarly situated entities.

       The Supreme Court often has “recognized successful equal protection claims brought by a

‘class of one.’” Vill. of Willowbrook v. Olech, 528 U.S. 562, 564 (2000) (per curiam). Such a

claim requires the plaintiff to allege that it “has [1] been intentionally treated differently from

others similarly situated and [2] that there is no rational basis for the difference in treatment.” Id.

at 564. Further, when the differential treatment burdens a plaintiff’s First Amendment activity, a

standard “appreciably more stringent than ‘minimum rationality’” governs. News Am. Pub., Inc.

v. FCC, 844 F.2d 800, 802, 814 (D.C. Cir. 1988).




5
  The Fifth Amendment’s Due Process Clause contains an equal protection component applicable
to the federal government. Bolling v. Sharpe, 347 U.S. 497, 498 (1954). The “[e]qual protection
analysis . . . is the same” as under the Fourteenth Amendment. Buckley v. Valeo, 424 U.S. 1, 93
(1976).

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       Both parts of the equal protection test are readily satisfied here.         First, the Order

intentionally treats Susman differently from others that are similarly situated. Indeed, the targeted

treatment inheres in the Order itself, which singles out Susman by name, airs the President’s

specific grievances with Susman, and assigns targeted sanctions. Countless other similarly

situated law firms have not been subjected to the same—or remotely similar—sanctions. Worse

still, unlike in the typical class-of-one claim, in which “improper motive is usually covert,” here

the “improper motive” is apparent on the face of the Order and the Administration’s related public

statements. Swanson v. City of Chetek, 719 F.3d 780, 784 (7th Cir. 2013); supra p. 18-20. When,

as here, “animus is readily obvious,” myopically applying the comparator requirement is

inappropriate. Swanson, 719 F.3d at 784; see Cordi-Allen v. Conlon, 494 F.3d 245, 251 n.4 (1st

Cir. 2007).

       It is immaterial that several other law firms have previously been subjected to analogous

orders. The fact remains that the number of similarly situated firms targeted by the President is

dwarfed by the number who have been unaffected. It would defy logic and precedent to conclude

that Defendants can avoid an equal protection violation on the ground that they have also targeted

several other firms on similarly illegitimate grounds. “Whether the complaint alleges a class of

one or of five is of no consequence because . . . the number of individuals in a class is immaterial

for equal protection analysis.” Olech, 528 U.S. at 564 n.*; accord Franks v. Rubitschun, 312 F.

App’x 764, 765 n.2 (6th Cir. 2009) (claims are “typically referred to as class-of-one claims,” but

“the challenged government action” need not “single out one solitary person”).

       Second, the government lacks even a rational basis for the difference in treatment, much

less an “appreciably more” persuasive justification. News Am. Pub., Inc., 844 F.2d at 802. To

satisfy even the lower rational-basis standard, the government must identify a “legitimate



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governmental purpose,” which cannot be “so attenuated” from the conduct “as to render [it]

arbitrary or irrational.” City of Cleburne v. Cleburne Living Ctr., Inc., 473 U.S. 432, 446 (1985).

A “bare . . . desire to harm a politically unpopular group” is not a “legitimate state interest[].” Id.

at 447. The Order has no legitimate governmental purpose; rather, its objective is to harm a law

firm that the President perceives to have supported clients and causes that the President disfavors.

In addition, the Order’s means are far too attenuated to justify its punitive provisions. See id. at

446; see also Romer v. Evans, 517 U.S. 620, 632 (1996) (where a governmental act is “so

discontinuous with the reasons offered” that it “seems inexplicable by anything but animus,” it

“lacks a rational relationship to legitimate state interests”).

        D.      The Order Violates Susman Godfrey’s Clients’ Due Process Right to Counsel

        Susman Godfrey is also likely to succeed on its claims that the Order violates the right to

counsel protected by the Fifth Amendment’s Due Process Clause. That right protects litigants in

civil and criminal cases alike against arbitrary deprivations of their counsel of choice. See Powell

v. Alabama, 287 U.S. 45, 53, 68-69 (1932). The Order violates that right by baselessly preventing

Susman’s clients from being ably represented by their chosen attorneys.

        1. The Firm has constitutional standing to challenge infringement of its clients’ right to

counsel. Lawyers have prudential, third-party standing to challenge restrictions on their clients’

access to counsel that interfere with the lawyers’ practice. See Caplin & Drysdale, Chartered v.

United States, 491 U.S. 617, 623 n.3 (1989); U.S. Dep’t of Labor v. Triplett, 494 U.S. 715, 720

(1990). That includes restrictions that interfere with a client’s right to counsel of choice, Caplin

& Drysdale, 491 U.S. at 623 n.3, as well as restrictions that “interfere[] with [counsel’s]

professional obligation to his client,” Wounded Knee Legal Def./Offense Comm. v. FBI, 507 F.2d

1281, 1284 (8th Cir. 1974). Here, Defendants’ violations have caused, and will continue to cause,



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exactly those kinds of interference. That is “concrete injury” that injunctive relief would redress.

TransUnion LLC v. Ramirez, 594 U.S. 413, 425 (2021).

       2. The Order violates Susman clients’ Fifth Amendment right to counsel. It hardly needs

saying that, as a general matter, the Due Process Clause protects a litigant’s right to notice and a

hearing. Powell, 287 U.S. at 68. But that right to be heard would be “of little avail” if it did not

include the right to “the aid of counsel” in the hearing. Id. at 69. And the guarantee of an attorney

necessarily includes a party’s right “to secure counsel of his own choice.” Id. at 53. Accordingly,

although a civil litigant may not always have a constitutional right to appointed counsel, Turner v.

Rogers, 564 U.S. 431, 443-44 (2011), the Supreme Court has recognized that an “arbitrar[y]

refus[al]” to allow a party to be heard in a civil case via the arguments of his preferred “counsel,

employed by and appearing for him,” constitutes a denial of due process. Powell, 287 U.S. at 69;

see Am. Airways Charters, Inc. v. Regan, 746 F.2d 865, 873-74 (D.C. Cir. 1984).

       The Order amounts to exactly that sort of arbitrary and unjustified interference. By denying

Susman attorneys the ability to “engag[e] with” government officials or “access[] . . . Federal

Government buildings,” Order § 5(a), the Order imposes imminent risk that Susman’s clients will

have to go without their chosen counsel in upcoming meetings and hearings. The Order offers no

legitimate rationale for that denial, making it a classically arbitrary government action and a denial

of due process rights.

       E.      The Order Exceeds the President’s Statutory and Constitutional Authorities
               and Violates the Separation of Powers

       The many constitutional violations described above are all the more egregious because the

President lacks even basic authority to issue several of the Order’s mandates. Section 3 of the

Order imposes draconian contracting consequences on Susman Godrey and its clients, and Section

5 restricts Susman’s personnel from engaging with the federal government and presumptively


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makes such personnel ineligible for federal employment. Susman is likely to succeed on its claim

that those punishments exceed the President’s statutory and constitutional authority and otherwise

violate the separation of powers.

       “The President’s power, if any, to issue” an executive order “must stem either from an act

of Congress or from the Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S.

579, 585 (1952). Courts have therefore routinely held that an executive order lacks legal effect if

it is not justified by an “express constitutional or statutory authorization.” Sioux Tribe of Indians

v. United States, 316 U.S. 317, 331 (1942); see, e.g., Minnesota v. Mille Lacs Band of Chippewa

Indians, 526 U.S. 172, 193-95 (1999) (similar); City & Cnty. of San Francisco, 897 F.3d at 1234-

35 (similar); see also Trump v. Hawaii, 585 U.S. 667, 683 (2018) (upholding presidential action

taken pursuant to 8 U.S.C. § 1182(f), which addresses restrictions on entry of noncitizens).

       No statute authorizes the President or his executive officers to sanction a law firm for its

general representation of clients. The President thus is exacting retribution against a law firm for

representing clients he considers his political opponents, or who hold views he disfavors, without

even an indication of statutory authority. Put differently, “[t]he President’s order does not direct

that a congressional policy be executed in a manner prescribed by Congress—it [improperly]

directs that a presidential policy be executed in a manner prescribed by the President.”

Youngstown, 343 U.S. at 588 (emphasis added). In short, there is no “nexus between the”

President’s action “and some delegation of the requisite legislative authority by Congress.”

Chrysler Corp. v. Brown, 441 U.S. 281, 304 (1979).

       Lacking any statutory basis, the Order could survive only if supported by some inherent

executive power.    None applies here.      The power to punish disfavored law firms through

contracting orders and access restrictions finds no home in Article II of the Constitution; rather,



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“officially prepared and proclaimed governmental blacklists possess almost every quality of bills

of attainder, the use of which was from the beginning forbidden to both national and state

governments.” McGrath, 341 U.S. at 143-44 (Black, J., concurring). Such punishment is not an

exercise of the President’s power as Commander in Chief, see, e.g., Ex parte Quirin, 317 U.S. 1,

26 (1942), or any foreign-policy power vested in the President, see, e.g., Zivotofsky ex rel.

Zivotofsky v. Kerry, 576 U.S. 1, 32 (2015), and it is not a component of the President’s “executive

Power” to oversee certain subordinate officials, see, e.g., Seila Law LLC v. CFPB, 591 U.S. 197,

213 (2020). Nor do Sections 3 and 5 of the Order represent an exercise of the President’s

responsibility to “take Care that the Laws be faithfully executed,” U.S. Const. art. II, § 3, because

the President executes no law whatsoever in imposing those punishments.

       The lack of any historical precedent for an executive order targeting a law firm due to its

advocacy on behalf of clients is further powerful evidence that the Constitution does not permit,

much less affirmatively authorize, the President’s action. See Free Enter. Fund v. Pub. Co. Acct.

Oversight Bd., 561 U.S. 477, 505 (2010); NLRB v. Noel Canning, 573 U.S. 513, 524 (2014).

Indeed, the historical power to sanction attorneys for alleged professional misconduct in federal

court rests with a different, co-equal branch of our government: the Article III judiciary. The

Supreme Court has long held that federal courts have inherent power to “discipline attorneys who

appear before [them].” Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991) (citing Ex parte Burr,

22 U.S. (9 Wheat.) 529, 531 (1824)). That power is integral to federal courts’ ability to adjudicate

the “Cases” and “Controversies” assigned to them under Article III, as “the ability to fashion an

appropriate sanction” for attorney misconduct ensures that courts may “manage” their “own

affairs” and prevent “abuse[]” of the “judicial process.” Goodyear Tire & Rubber Co. v. Haeger,

581 U.S. 101, 107 (2017) (citations omitted). The Order intrudes on that inherently judicial role



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by imposing blunderbuss sanctions on attorneys based not on a judicial finding of professional

wrongdoing but rather on the President’s own disagreement with (for example) actions that

Susman took in connection with the 2020 election—actions that Susman took in court. Our system

of separated powers does not permit that intrusion on the judiciary’s role. See Stern v. Marshall,

564 U.S. 462, 482-84 (2011).

       Nor could Article II reserve any such power to the President, as to do so would empower

the President to interfere with “the proper exercise of the judicial power.” Velazquez, 531 U.S. at

545. In our adversarial system of litigation, “courts must depend” on attorneys to “present all the

reasonable and well-grounded arguments necessary for proper resolution of [a] case.” Id. The

separation of powers thus precludes either Congress or the Executive from attempting to “exclude

from litigation those arguments and theories [it] finds unacceptable but which by their nature are

within the province of the courts to consider.” Id. at 546. The Order flouts these “accepted

separation-of-powers principles,” “threaten[ing] severe impairment of the judicial function.” Id.

at 544-46.

       On top of that, the Order—which effectively functions as a “prepared and proclaimed

governmental blacklist[]”—“possess[es] almost every quality of [an unlawful] bill[] of attainder.”

McGrath, 341 U.S. at 143-44 (Black, J., concurring). It punishes Susman—and only Susman—

“without any formal investigation, trial, or even informal process.” Perkins Tr. at 89:10-22. From

the Founding, such measures have been “forbidden to both national and state governments.”

McGrath, 341 U.S. at 144 (Black, J., concurring). It cannot be “that the authors of the Constitution,

who outlawed the bill of attainder, inadvertently endowed the executive with power to engage in

the same tyrannical practices that had made the bill such an odious institution.” Id.




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   II.        SUSMAN GODFREY WILL SUFFER IRREPARABLE HARM WITHOUT A
              TEMPORARY RESTRAINING ORDER

         Irreparable harm justifying issuance of a TRO must be “‘certain and great,’ ‘actual . . . not

theoretical,’ and ‘of such imminence that there is a clear and present need for equitable relief.’”

Doctors for Am. v. OPM, 2025 WL 452707, at *8 (D.D.C. Feb. 11, 2025) (quoting Wis. Gas Co.

v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985)). That “high standard,” id., is more than satisfied

here.

         A.     The Order Has Impaired Susman Godfrey’s Constitutional Rights

         “[T]here is a presumed availability of federal equitable relief against threatened invasions

of constitutional interests.” Davis v. District of Columbia, 158 F.3d 1342, 1346 (D.C. Cir. 1998)

(internal quotation marks and citation omitted). “[A] prospective violation of a constitutional right

constitutes irreparable injury for . . . purposes” of such relief. Karem, 960 F.3d at 667 (quoting

Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013)). Multiple such invasions and violations

have already occurred here.

         First Amendment. “The loss of First Amendment freedoms, for even minimal periods of

time[,] . . . constitute[s] irreparable injury.” Cigar Ass’n of Am. v. FDA, 317 F. Supp. 3d 555, 562

(D.D.C. 2018) (quoting Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 301 (D.C.

Cir. 2006)). If denied a TRO, Susman will incur an injury that is “certain” and “imminent” because

the Order “threatens” and “in fact . . . impair[s]” the Firm’s “First Amendment interests ‘at the

time relief is sought.’” Cigar Ass’n of Am., 317 F. Supp. 3d at 562 (quoting Chaplaincy of Full

Gospel Churches, 454 F.3d at 301). As Judge Leon explained in granting a TRO in WilmerHale’s

challenge to an analogous order, “[t]here is no doubt this retaliatory action chills speech and legal

advocacy,” and “violations of plaintiffs’ constitutional rights constitute irreparable harm, even if

the violations occur only for short periods of time.” Wilmer TRO at 2-3; see also Jenner Tr. at


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54:22-24 (“[E]ven more simply, Jenner is suffering irreparable harm because the order likely

impinges on the firm’s First Amendment rights.”); Perkins Tr. at 95:2-3 (First Amendment

violations “in and of themselves lead[] to irreparable harm”).

       Moreover, given the Order’s clear retaliatory purpose and effect, there is no question that

it is intended to chill Susman’s speech and advocacy going forward. That is why the Order imposes

severe sanctions while giving agency heads discretion to tighten those sanctions still further. There

is thus at minimum “some likelihood of a chilling effect on” Susman’s rights—that is the Order’s

very purpose. Chaplaincy of Full Gospel Churches, 454 F.3d at 301; see Hirshon Decl. ¶ 20

(“Lawyers’ zealous advocacy will be hindered if they must fear retribution for advancing

arguments with which the President disagrees.”). In addition, Susman “need not show that the

government action led [it] to stop speaking altogether, only that it would be likely to deter a person

of ordinary firmness from the exercise of First Amendment rights.” Media Matters for Am. v.

Paxton, 732 F. Supp. 3d 1, 29 (D.D.C. 2024) (internal quotation marks and citations omitted).

“Therefore, the fact that” Susman has “defended its work does not mean that [it] ha[s] not suffered

irreparable harm.” Id.

       Fifth Amendment. “[A] violation of Fifth Amendment due process rights,” including

unlawful interference with the right to counsel, gives rise to irreparable harm. Karem, 960 F.3d at

668; see Innovation Law Lab v. Nielsen, 310 F. Supp. 3d 1150, 1163 (D. Or. 2018). So too does

a violation of the “right[] to equal protection of the laws under the Fifth Amendment.” Doe 1 v.

Trump, 275 F. Supp. 3d 167, 216 (D.D.C. 2017), vacated on other grounds, Doe 2 v. Shanahan,

755 F. App’x 19 (D.C. Cir. 2019). Susman is suffering exactly those forms of irreparable harm

here. See supra pp. 26-35. The harm inflicted by the Order is ongoing and “do[es] not . . . require




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proof of any injury other than the threatened constitutional deprivation itself.” Gordon v. Holder,

721 F.3d 638, 653 (D.C. Cir. 2013) (quoting Davis, 158 F.3d at 1346).

       B.      Susman Godfrey Is Suffering Ongoing and Irreparable Reputational Harm

       Absent emergency relief, Susman will suffer severe and irreparable reputational harm as a

result of the Order. See Xiaomi Corp., 2021 WL 950144, at *9 (“injury to reputation or goodwill”

is “irreparable” (citation omitted and alterations accepted)). Not only does the Order disparage

the Firm’s work as “dangerous” and “detrimental to critical American interests,” it accuses the

Firm of, among other things, “spearhead[ing] efforts to weaponize the American legal system and

degrade the quality of American elections.”        Order § 1.    Allowing these falsehoods to go

unrestrained could damage Susman’s “corporate goodwill and reputation.”           Honeywell, Inc. v.

Consumer Prod. Safety Comm’n, 582 F. Supp. 1072, 1078 (D.D.C. 1984); see Srinivasan Decl.

¶ 75. More generally, there is a public perception that orders like the one here make law firms less

able to do their work effectively. See, e.g., Anders Decl. Ex. I (article discussing impact of earlier

executive orders). That perception is amplified by the fact that the Order articulates the grievances

of the President, who occupies an office that exerts great influence and to which many people play

close attention.

       The Order’s (false) suggestion that Susman is so untrustworthy or “dangerous” that it

cannot be permitted to represent clients in interactions with the federal government, at federal

agencies, and in federal courtrooms poses concrete, here-and-now harm to the Firm’s reputation.

Order §§ 1, 3. This Court has found far less reputational damage to be irreparable. 6


6
  See, e.g., Xiaomi Corp., 2021 WL 950144, at *1, 9 (“almost unquestionable” that plaintiff’s
designation as “Communist Chinese military company” “damaged its reputation[]”); Beacon
Assocs., Inc. v. Apprio, Inc., 308 F. Supp. 3d 277, 288 (D.D.C. 2018) (“termination for default . . .
left a black mark on [plaintiff’s] reputation, irreparable absent an injunction”); Patriot, Inc. v.
HUD, 963 F. Supp. 1, 5 (D.D.C. 1997) (agency letter characterizing plaintiff as “pressuring” senior
citizens into financial decisions was irreparable reputational harm).

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         C.     Susman Godfrey Is Suffering Irreparable Economic Injuries

         Without relief from this Court, the Executive Order will subject Susman to unrecoverable

losses. Although economic loss is not always irreparable, Harris v. Bessent, 2025 WL 521027, at

*8 (D.D.C. Feb. 18, 2025) (granting TRO), economic injuries justify emergency equitable relief

when “legal remedies after the fact [are] inadequate to restore the party seeking a stay to the status

quo ante,” Mann v. Wash. Metro. Area Transit Auth., 185 F. Supp. 3d 189, 195 (D.D.C. 2016).

Where damages are unrecoverable (for example, due to sovereign immunity), “significant”

economic loss constitutes irreparable harm. Luokung Tech. Corp. v. Dep’t of Def., 538 F. Supp.

3d 174, 192 (D.D.C. 2021) (issuing injunction).

         That is true here.   Defendants’ sovereign immunity limits Susman to nonmonetary

equitable relief, and Susman’s unrecoverable revenue losses will be “significant” absent injunctive

relief, Xiaomi Corp. v. Dep’t of Def., 2021 WL 950144, at *10 (D.D.C. Mar. 12, 2021) (citations

omitted); see Srinivasan Decl. ¶ 71. See Xiaomi Corp., 2021 WL 950144, at *11 (irreparable harm

where there was “exodus of lucrative contracts”); Nalco Co. v. EPA, 786 F. Supp. 2d 177, 188

(D.D.C. 2011) (irreparable harm where there was “loss of long-standing clients that may be

unwilling, or unable, to do business with [plaintiff] hereafter if no injunction is issued” (cleaned

up)).

         The Order also imminently threatens significant irreparable economic harm by hindering

Susman’s ability “to recruit and retain employees to build—or even maintain—its business.”

TikTok Inc. v. Trump, 490 F. Supp. 3d 73, 84 (D.D.C. 2020); see also Luokung, 538 F. Supp. 3d

at 192-93 (irreparable harm included “difficulty recruiting and retaining talent”). Employees are

drawn to Susman in part due to the significant substantive responsibilities the Firm provides, which

can make them more compelling candidates for federal employment. Srinivasan Decl. ¶ 76. By

directing federal agencies to refrain from hiring Susman employees, the Order impairs the Firm’s

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ability to recruit and retain lawyers and professionals who are interest in federal service. Id.; see

Hirshon Decl. ¶ 22.

   III.      THE EQUITIES AND PUBLIC INTEREST STRONGLY FAVOR A TRO

          The final two TRO factors—the balancing of the equities and weighing of the public

interest—“merge when the [g]overnment is the opposing party.”               Am. Ass’n of Political

Consultants v. SBA, 613 F. Supp. 3d 360, 365 (D.D.C. 2020) (quoting Nken v. Holder, 556 U.S.

418, 435 (2009)). Courts “must balance the competing claims of injury and must consider the

effect on each party [and the public] of the granting or withholding of the requested relief.” Winter

v. Nat. Res. Def. Council, 555 U.S. 7, 24 (2008).

          The injury to Susman Godfrey has been immediate and severe. The Order is already

inflicting severe and irreparable harm on Susman by actively violating the constitutional rights of

the Firm and its clients. Those injuries will only multiply if the Order is not restrained. See supra

pp. 39-41. Even if there were only a “substantial risk” of a deprivation of “fundamental . . .

right[s],” that would be enough to tilt the equities against the government. See League of Women

Voters, 838 F.3d at 12. Here, it is certain that the Order will have that effect. Further, with each

day that goes by, the risk mounts that Susman will suffer unrecoverable economic losses and

uncurable reputational harm. See Srinivasan Decl. ¶¶ 71-72, 75.

          Making matters worse, the Order threatens to deter attorneys across the Nation from taking

on clients and causes for fear of drawing the ire of an Administration that has laid bare its

willingness to impose harsh sanctions on those who express opposition to its policies. See Hirshon

Decl. ¶¶ 17-20. As Judge Bates stated, “[t]he legal profession as a whole is watching and

wondering whether its courtroom activities, in the best tradition of lawyering, will cause the federal

government to turn its unwanted attention to them next.” Jenner Tr. at 54:25-55:3. That chilling



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effect will ultimately make it difficult for lawyers to fulfill their duty to provide their “client and

[] the legal system” with “zealous[]” and “vigorous representation” “within the bounds of the

law”—a responsibility of “paramount importance” to our “system of justice” and to the public

interest. D.C. R. Prof’l Conduct 1.3 cmt. [1]; Penson v. Ohio, 488 U.S. 75, 84 (1988). The Order

also will deter potential litigants from challenging the Administration’s policies. Indeed, it already

has. See Anders Decl. Ex. J (“The volunteers and small nonprofits forming the ground troops of

the legal resistance to Trump administration actions say that the well-resourced law firms that once

would have backed them are now steering clear.”). In short, the “adverse impact” on the public

interest “cannot be [over]stated,” Perkins Tr. at 102:13-14, as it puts in peril the “informed,

independent bar” on which our judicial system depends, Velazquez, 531 U.S. at 545. Moreover,

“[i]t is always in the public interest to prevent the violation of a party’s constitutional rights.”

Costa v. Bazron, 456 F. Supp. 3d 126, 137 (D.D.C. 2020) (brackets in original) (quoting Simms v.

District of Columbia, 872 F. Supp. 2d 90, 105 (D.D.C. 2012)).

       In contrast, any purported harm to the Defendants is non-existent. See Perkins Tr. at 101:8-

10 (“The government . . . would suffer no cognizable injuries from the issuance of a TRO.”).

Because the government “cannot suffer harm from an injunction that merely ends an unlawful

practice,” “any hardship” the Government might identify is “not legally relevant.” Ramirez v. U.S.

ICE, 568 F. Supp. 3d 10, 34 (D.D.C. 2021) (quoting R.I.L.-R v. Johnson, 80 F. Supp. 3d 164, 191

(D.D.C. 2015)); see League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016);

N.S. v. Hughes, 335 F.R.D. 337, 355 (D.D.C. 2020). On the contrary, there is a “substantial public

interest” in ensuring that “‘governmental agencies abide’” by the law. League of Women Voters,

838 F.3d at 12.     The balance of equities and public interest thus weigh decisively in favor of

temporarily restraining and enjoining implementation of the Order and preserving the status quo.



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IV.   THIS COURT SHOULD EXERCISE ITS DISCRETION TO WAIVE THE RULE
      65(c) SECURITY REQUIREMENT

       Susman Godfrey respectfully requests that the Court waive any security under Rule 65(c).

See Fed. R. Civ. P. 65(c). This Court has “wide discretion” to grant relief under Rule 65 without

requiring the movant to post any bond. Am. First Legal Found. v. Becerra, 2024 WL 3741402, at

*16 n.11 (D.D.C. Aug. 9, 2024). Here, the requested relief will “do the defendant[s] no material

damage”—and that fact counsels strongly in favor of “dispens[ing] with any security requirement

whatsoever,” as is typical in cases in which government action is at issue. Id. (quoting Fed.

Prescription Serv., Inc. v. Am. Pharm. Ass’n, 636 F.2d 755, 759 (D.C. Cir. 1980)); see, e.g.,

Opinion and Order at 21, Widakusara v. Lake, No. 25-cv-02390 (S.D.N.Y. Mar. 28, 2025), ECF

No. 54 (“[r]equiring that plaintiffs suing the government to vindicate constitutional and statutory

rights” post large bonds “would ensure that very few individuals could afford to sue the federal

[g]overnment,” and federal defendants “can hardly gripe about” the cost of “abiding by their

constitutional role as members of the executive branch”).

                                        CONCLUSION

       Plaintiff’s motion for a temporary restraining order should be granted.


Dated: April 14, 2025                        Respectfully submitted,


                                             /s/ Donald B. Verrilli, Jr.
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